&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="2f4166ef66"&gt;&lt;span data-sentence-id="2f4166ef66" quote="false" data-paragraph-id="2f4166ef66"&gt; In re the Marriage of Elyssa M. Fox, Petitioner and Alexander L. Speaker, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="90ecfa84bf"&gt;No. 24SC76&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ca853be1b1"&gt;July 1, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="3c22e7aa54"&gt;&lt;span data-sentence-id="8a55a9acd8" quote="false" data-paragraph-id="3c22e7aa54"&gt; Court of Appeals Case No. 22CA1962 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="1b382ec2dd"&gt;&lt;span data-sentence-id="f7056cccd2" quote="false" data-paragraph-id="1b382ec2dd"&gt; CHIEF JUSTICE BOATRIGHT would grant as to the following issue: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="7f188b17e6"&gt;&lt;span data-sentence-id="8144efa36a" quote="false" data-paragraph-id="7f188b17e6"&gt; Whether the trial court may consider a relocating parent's admission or acknowledgement that he or she will not relocate in the event their request is denied, prior to making the initial determination on that parent's relocation request.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;